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                                                                              **E-filed 5/3/06**
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     Assistant United States Attorney
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8    Attorneys for Plaintiff      UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11
12   UNITED STATES OF AMERICA,           )                No.: CR 05-00715-3 JF (HRL)
                                         )
13         Plaintiff,                    )                STIPULATION AND [PROPOSED]
                                         )                ORDER TO CONTINUE SENTENCING
14         v.                            )
                                         )
15   MING SUN,                           )
                                         )
16         Defendant.                    )
                                         )
17                                       )
                                         )
18   ____________________________________)
19          The parties stipulate as follows:
20          1. Defendant Ming Sun is presently scheduled for sentencing on Wednesday, May 3,
21   2006, at 9:00 a.m.
22          2. Pursuant to his federal cooperation agreement, the Defendant has agreed to testify in a
23   Santa Clara Superior Court case as a trial witness. The trial is expected to commence in the
24   coming days.
25          3. The parties wish to provide the Defendant with a full opportunity to provide
26   substantial assistance to the government prior to sentencing. Accordingly, the parties jointly
27   request that the Defendant’s sentencing be continued from May 3, 2006, at 9:00 a.m., to May 24,
28   2006, at 9:00 a.m.

     STIPULATION AND ORDER
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1           4. The United States has cleared the new proposed date with U.S. Probation and the
2    Court’s Courtroom Clerk.
3           IT IS SO STIPULATED.
4
5           DATED: ___5/1/06____                       __/S/ EDWARD TORPOCO___
                                                       EDWARD TORPOCO
6                                                             Assistant U.S. Attorney
7
8           DATED: __5/1/06_____                       __/S/ MIKE ARMSTRONG for_____
                                                       DANIEL BARTON
9                                                      Counsel for Defendant Ming Sun
10          The sentencing hearing for Defendant Ming Sun is hereby continued from May 3, 2006,
11   at 9:00 a.m. to May 24, 2006, at 9:00 a.m.
12          PURSUANT TO STIPULATION, IT IS SO ORDERED.
13
14                    5/1/06
            DATED: ___________________                         ________________________
                                                               HON. JEREMY FOGEL
15                                                             United States District Judge
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     STIPULATION AND ORDER
28   (CR 05-00715-3 JF)
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